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 1                                                              Magistrate Judge David W. Christel
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 7                             UNITED STATES DISTRICT COURT FOR THE
                                 WESTERN DISTRICT OF WASHINGTON
 8
                                           AT SEATTLE
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10
     UNITED STATES OF AMERICA,                               CASE NO. MJ23-74
11
                                Plaintiff
                                                             COMPLAINT for VIOLATION
12
13                                                           Title 18, United States Code, Section 2314
                          v.
14
     DAVID SUBIL,
15
                                Defendant.
16
17          BEFORE, David W. Christel, United States Magistrate Judge, U.S. Courthouse,
18 Tacoma, Washington.
19          The undersigned complainant being duly sworn states:
20                                                COUNT I
21                                  (Interstate Transportation of Stolen Property)
22          Beginning on a date unknown, but no later than on or about January 18, 2023, and
23 continuing until February 18, 2023, in Snohomish County, in the Western District of
24 Washington, and elsewhere, DAVID SUBIL, did unlawfully transport, transmit and
25 transfer, and did aid and abet the unlawful transportation, transmission, and transfer, in
26 interstate and foreign commerce, from the State of Washington to the State of Florida,
27 stolen goods, wares and merchandise, that is Russian King Crab, of a value of $432,000
28 or more, knowing the same to be stolen, converted, and taken by fraud.
     Complaint- 1                                                            UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
     United States v. David Subil
                                                                              SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
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 1          All in violation of Title 18, United States Code, Sections 2 and 2314.
 2                                                COUNT II
 3                                  (Interstate Transportation of Stolen Property)
 4          Beginning on a date unknown, but no later than on or about January 20, 2023, and
 5 continuing until February 18, 2023, in Snohomish County, in the Western District of
 6 Washington, and elsewhere, DAVID SUBIL, did unlawfully transport, transmit and
 7 transfer, and did aid and abet the unlawful transportation, transmission, and transfer, in
 8 interstate and foreign commerce, from the State of Washington to the State of Florida,
 9 stolen goods, wares and merchandise, that is Russian King Crab and Opilio Crab, of a
10 value of $296,388 or more, knowing the same to be stolen, converted, and taken by fraud.
11          All in violation of Title 18, United States Code, Sections 2 and 2314.
12 And the complainant states that this Complaint is based on the following information:
13          I, David J. Spitzer, being first duly sworn on oath, depose and say:
14                        INTRODUCTION AND AGENT BACKGROUND
15          1.       I am a Special Agent with United States Homeland Security Investigations
16 (HSI) and have been so employed since January 2020. In February 2021, I graduated from
17 the Criminal Investigator Training Program and the Homeland Security Investigations
18 Special Agent Training Program at the Federal Law Enforcement Training Centers
19 (FLETC) in Glynco, Georgia. While at FLETC, I received nearly 1000 hours of training in
20 such areas including, but not limited to criminal law, human smuggling/trafficking
21 investigations, and criminal procedures. Prior to being employed with HSI, I was employed
22 as an agent with the United States Border Patrol (USBP) for eleven years and was assigned
23 to the Sector Intelligence Units in El Centro, CA, and Blaine, WA. In this capacity, I was
24 responsible for conducting criminal investigations regarding the violation of immigration
25 laws of the United States. In 2009, I graduated from the United States Border Patrol
26 Academy at the FLETC in Artesia, New Mexico. My education includes a Bachelor of Arts
27 degree in Political Science and a Bachelor of Arts degree in Criminology from the
28 University of Florida.
     Complaint- 2                                                            UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
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 1          2.       I am assigned to HSI’s Border Security Enforcement Team (BEST) and Air
 2 and Marine group in Blaine, WA (hereinafter “HSI Blaine”), which focuses on the
 3 enforcement of immigration and narcotics laws, including human trafficking and
 4 smuggling, as well as the investigation of transnational gangs. I am authorized to
 5 investigate and enforce violations of federal criminal statutes, including those in Titles 8,
 6 18, and 21 of the United States Code.
 7          3.       The facts set forth in this Affidavit are based on my own personal knowledge;
 8 knowledge obtained from other individuals during my participation in this investigation,
 9 including other law enforcement officers; interviews of cooperating witnesses; review of
10 documents and records related to this investigation; communications with others who have
11 personal knowledge of the events and circumstances described herein; and information
12 gained through my training and experience.
13          4.       Because this Complaint is submitted for the limited purpose of establishing
14 probable cause in support of an arrest warrant, it does not set forth each and every fact that
15 I or others have learned during the course of this investigation. I have set forth only the
16 facts that I believe are necessary to establish probable cause to believe that David SUBIL
17 has committed the offense of Transportation of Stolen Property, in violation of Title 18,
18 United States Code, Section 2314.
19          RELEVENT LAW AND ADDITIONAL KNOWLEDGE OF AFFIANT
20          5.       I know from training and experience that 18 U.S.C. Section 2314 makes it
21 illegal to an individual to have: 1) unlawfully transported or caused to be transported in
22 interstate or foreign commerce; (2) goods, wares, merchandise, securities, or money having
23 a value of $5,000 or more which are stolen, converted or taken by fraud; and (3) knowing
24 the same to be stolen, converted or taken by fraud.
25
26
27                                      PROBABLE CAUSE
28          A.       Initial Information
     Complaint- 3                                                          UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United States v. David Subil
                                                                            SEATTLE, WASHINGTON 98101
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 1          6.       On January 24, 2023, Homeland Security Investigations (HSI) Blaine
 2 received information from the Stanwood Police Department regarding a fraud case being
 3 committed in Stanwood, Washington. It was reported that an individual representing
 4 himself to be an agent of Safeway, and stolen hundreds of thousands of dollars’ worth of
 5 Russian King Crab and Opilio Crab.
 6          7.       North Star Cold Storage processes, ships, and stores frozen products for other
 7 businesses throughout the United States. The Vice President of North Star Cold Storage,
 8 Linda Boggs, informed Snohomish County Sheriff’s Deputy Klassen that one of her
 9 customers, Alexander Gorelik who owns Arctic Seafoods based in San Francisco,
10 California, was the victim of fraud.
11          8.       Gorelik authorized the release of two shipments of Russian king crab from
12 the North Star Cold Storage facility on January 18, 2023, and January 20, 2023, to someone
13 claiming to represent Safeway.
14          9.       Based on the review of all relevant evidence I believe Christopher Delgado,
15 Jennifer Zavala, and Bridget Wood to be alias’ of David SUBIL.
16          10.      Deputy Klassen contacted Gorelik and learned he had been contacted by
17 multiple individuals purporting to represent Safeway. These individuals contacted
18 Gorelik by email from the following addresses: chrisdelgado@safewaycorporate.com and
19 jenniferzavala@safewaycorporate.com. We believe these email accounts are owned and
20 operated by David SUBIL. Gorelik had received documents to open an account with
21 what he thought was Albertson’s (Safeway’s parent company) and received a vendor
22 number. On January 3, 2023, Gorelik received an email from
23 jenniferzavala@safewaycorporate.com with the subject line, “Vendor #”. The e-mail
24 from the “Invoice and Billing Supervisor” went on to read, “989425 Please reference this
25 on all orders.”
26          11.      Gorelik later received a purchase order via email for $432,000.00 worth of
27 Russian king crab. Gorelik received a second purchase order via email for king crab from
28 the same “Safeway” buyer for $296,388.00. Both purchase orders were sent from
     Complaint- 4                                                           UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
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 1 Christopher Delgado (aka SUBIL) at the email, notifications@safeway2.odoo.com. In
 2 looking at their website, Odoo provides business management software tools, including
 3 billing and accounting. At the bottom of the purchase order emails, generated through
 4 Odoo, is the email, chrisdelgado@safewaycorporate.com, the website,
 5 www.safewaycorporate.com, and the telephone number, 800-674-3635. After receiving
 6 the purchase orders and believing they were legitimately from Safeway, Gorelik
 7 authorized the release of the product from North Star Cold Storage in Stanwood for both
 8 purchases.
 9            12.      After the second order, Gorelik realized he had over charged the buyer and
10 attempted to contact the buyer by phone but was unable to reach him. Gorelik informed
11 me that he attempted to call every phone number provided to him by Delgado and his
12 associates, including a phone number Gorelik described as Delgado’s (aka SUBIL)
13 cellular phone number, (208) 509-9598. Gorelik stated he also tried the various toll-free
14 numbers provided in the email signatures of chrisdelgado@safewaycorporate.com (888-
15 712-1983 Ext 730), bridgetwood@safewaycorporate.com (800-674-3635 Ext 732), and
16 jenniferzavala@safewaycorporate.com (800-674-3635 Ext 710) to no avail. As a result,
17 Gorelik called the Director of Seafood from Albertson’s, Anthony Snow, and discovered
18 the people he had been communicating with did not work at Safeway or Albertson’s.
19 Gorelik was informed by Anthony Snow the purchase orders were fake, and that Arctic
20 Seafood was not set up as a vendor for Safeway or Albertson’s.
21            B.       Safewaycorporate.com and Associated Contact Information
22            13.      The domain safewaycorporate.com, used by DELGADO, SUBIL and others
23 known and unknown, is not an actual Safeway e-mail or web server. Based on an open-
24 source search, the domain “safewaycoporate.com” was registered to “Tucows Domains,
25 Inc.” on December 27, 2022 1, the day before the first communication with Arctic Seafoods
26
27   1
      Based on a search of Whois.com. According to their website, a Whois domain lookup allows you to trace the
     ownership and tenure of a domain name. Similar to how all houses are registered with a governing authority, all
28   domain name registries maintain a record of information about every domain name purchased through them, along
     with who owns it, and the date till which it has been purchased.
      Complaint- 5                                                                         UNITED STATES ATTORNEY
                                                                                          700 STEWART STREET, SUITE 5220
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 1 and its owner, Alex Gorelik. Even though the domain was registered with Tucows
 2 Domains, based on another open-source search, the hosting provider is Google LLC, but
 3 the hosting server is SiteGround. 2 On February 14, 2023, Google responded a preservation
 4 letter that they did not have responsive information related to the domain and email
 5 addresses related to this fraud. SiteGround has not yet responded to the preservation order.
 6 “Safewaycorporate.com” is set to automatically redirect to the actual Albertson’s
 7 homepage.
 8              14.      The real safeway.com domain, associated with one of the largest food and
 9 drug retailers in the United States, has been registered since 1995 and is administered by
10 “Network Solutions LLC,” and is Albertsons.com.
11              15.      The 800-674-3635 and 888-712-1983 phone numbers listed in the e-mails
12 from Delgado (aka SUBIL) and his associates do not appear to be real and are not listed
13 on Safeway’s website. A web search for those phone numbers produced no results
14 associated with Safeway. Safeway’s website lists their corporate phone number as 877-
15 723-3929.
16              16.      The e-mail addresses are also in the incorrect format for Safeway or
17 Albertson’s. Deputy Klassen and I have communicated with several actual employees
18 from both companies and their e-mails are formatted
19 “firstname.lastname@company.com,” unlike the emails sent from Delgado (aka SUBIL)
20 and his associates.
21              17.      The Director of Seafood from Albertson’s informed Gorelik the purchase
22 orders were not valid or created with the software that Safeway or Albertson’s uses.
23
24              C.       Fake Purchase Orders Created by Odoo
25              18.      On February 10, 2023, Deputy Klassen received a response from Odoo’s
26 Vice President of Sales and Customer Account Management, Brett Hydeman, in response
27
28
     2
         https://securitytrails.com/list/apex_domain/safewaycorporate.com (last visited February 12, 2023)
         Complaint- 6                                                                          UNITED STATES ATTORNEY
                                                                                              700 STEWART STREET, SUITE 5220
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 1 to an inquiry regarding the account used by Delgado (aka SUBIL) to send the purchase
 2 orders to Arctic Seafoods. Mr. Hydeman stated that a “free trial” account was created on
 3 December 29, 2022, which is the day after communication began between “Safeway
 4 Corporate” and Arctic Seafoods. The last time Delgado (aka SUBIL) logged into his
 5 account was February 1, 2023, which corresponds to the date that the last purchase order
 6 was sent to Arctic Seafoods. The email address used to create the Odoo account was
 7 chrisdelgado@safewaycorporate.com and the name provided was Christopher Delgado
 8 (aka SUBIL). Odoo was able to provide the last internet protocol (IP) address used. An
 9 open-source search of this IP address reveals that it originates in Council Bluffs, Iowa
10 and belongs to Google LLC. Mr. Hydeman was unsure if that IP address was related to
11 their servers, or the IP address used by Delgado (aka SUBIL). Based on my training and
12 experience, it is my belief that due to the sophistication of this scheme, it is likely that
13 Delgado (aka SUBIL) would use a virtual private network (VPN) 3 to disguise his
14 location and identity.
15            D.       First and Second Pick-up from North Star Cold Storage Documents
16            19.      On January 23, 2023, North Star Cold Storage provided Deputy Klassen
17 with bills of lading from the transactions involving Arctic Seafoods for January 18, 2023,
18 and January 20, 2023. The bill of lading from January 18, 2023, listed 300 cases of 6/9
19 count red king crab and 300 cases of 4/7 count king crab. The second bill of lading was
20 dated January 20, 2023, and listed 360 cases of king crab legs and claws, 40 cases of
21 Opilio snow crab and 240 cases of 6/9 count red king crab legs and claws.
22            20.      North Star Cold Storage also provided Deputy Klassen with the trucker
23 sign-in log from both days. The log from January 18, 2023, listed the driver’s name as
24 “Juan Sanchez” and the trucking company as “Jorge Trucking.” According to the log, the
25 truck arrived at about 7:08 a.m. and left at about 8:42 a.m. The log from January 20,
26
27   3
      According to Forbes, VPN software protects your information by masking your device’s IP address. The software
     encrypts your data and routes it through secure networks to servers in faraway states or other countries. A VPN
28   hides your online identity, allowing you to browse the internet anonymously.
     (https://www.forbes.com/advisor/business/software/why-use-a-vpn/)
      Complaint- 7                                                                            UNITED STATES ATTORNEY
                                                                                             700 STEWART STREET, SUITE 5220
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 1 2023, also listed Juan Sanchez from Jorge Trucking. The truck arrived at about 7:00 a.m.
 2 and left at approximately 9:00 a.m.
 3           21.      On January 23, 2023, Deputy Klassen reviewed footage from the North
 4 Star Cold Storage facility from January 18, 2023, and January 20, 2023. 4 Video from
 5 January 18, 2023, showed a white truck with two axles and a refrigeration unit mounted
 6 above the cab arriving to pick up the merchandise. According to Deputy Klassen’s review
 7 of the footage, the truck appeared to be at least 26 feet long, had a “Ryder” logo on the
 8 side, and a reflective stripe running the entire length of the box.
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23           22.      On February 8, 2023, I sent a subpoena to Ryder for information regarding
24 rental information for the trucks used on January 18, 2023, and January 20, 2023, to
25 transport the stolen goods. While they have not responded in writing to this request, on
26
27
28   4
       Based on Deputy Klassen’s review of the surveillance footage and speaking with employees at the storage facility,
     it is apparent that the time stamp from the video is not accurate.
       Complaint- 8                                                                       UNITED STATES ATTORNEY
                                                                                         700 STEWART STREET, SUITE 5220
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 1 February 7, 2023, I spoke with Olga Alvarez, who is a Legal Project Manager for Ryder
 2 System, Inc. At that time, she verbally told me that the truck had been rented by an
 3 individual named David SUBIL.
 4          23.      The videos showed several white cases, labeled on the top “Perishable
 5 Keep Frozen” securely sealed. These white cases were moved from the North Star Cold
 6 Storage facility into the truck on January 18, 2023, and January 20, 2023.
 7          E.       Third Pick-Up from North Star Cold Storage
 8          24.      On January 23, 2023, Gorelik advised Deputy Klassen that DELGADO had
 9 contacted him from the same cell phone number, (208) 509-8598, and was attempting to
10 purchase a third truckload of crab. Gorelik advised he knew it was that number based on
11 the number showing up on the screen when Delgado (aka SUBIL) called. On January 24,
12 2023, Gorelik sent Deputy Klassen the third purchase order for 6,250 pounds of 4/7 legs
13 and claws and 6,250 pounds of 6/9 king crab, totaling $450,000.00. This purchase order
14 was sent to Gorelik from Delgado (aka SUBIL) at notifications@safeway2.odoo.com,
15 but listed the chrisdelgado@safewaycorporate.com email account, as well as the
16 www.safewaycorporate.com web domain at the bottom of the email. According to
17 Gorelik, the purchase order had the incorrect weight, and another purchase order was sent
18 to Gorelik approximately five minutes later with the correct weight (totaling 12,000
19 pounds instead of 12,500 due to the size of the pallets) and a total purchase order amount
20 of $432,000.00. This purchase order was sent from and contained the same information
21 as the incorrect purchase order described above. Gorelik worked with North Star Cold
22 Storage to put product of lesser value in boxes labeled as the product ordered. Gorelik
23 then advised Delgado (aka SUBIL) the product was released. Soon thereafter, North Star
24 Cold Storage received a phone call from Delgado (aka SUBIL) to schedule the pickup,
25 which was scheduled for 8:00 a.m. on January 25, 2023. Deputy Klassen arranged for
26 the use of unmarked vehicles to follow the truck from the North Star Cold Storage on
27 January 25, 2023, after the product was loaded into the truck.
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     Complaint- 9                                                        UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
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 1          25.      On the morning of January 25, 2023, Deputy Klassen and members of the
 2 Violent Offender Task Force, operating in unmarked vehicles, set up around the North Star
 3 Cold Storage warehouse. Deputy Klassen contacted an employee at the facility, identified
 4 as A.L., and he advised Deputy Klassen he would handle the transaction like any other by
 5 bringing the driver the sign-in sheet and then loading the truck.
 6          26.      At approximately 7:00 a.m., Deputy Klassen observed a white tractor trailer
 7 bearing Florida license plate number JD29UD and registered to Juan Manuel SANCHEZ-
 8 Abreu, parked in the loading dock of North Star Cold Storage. At approximately 7:40 a.m.,
 9 Deputy Klassen observed a male wearing a black hooded jacket exit the white tractor trailer
10 and walk back to open the doors on the back of the trailer. Deputy Klassen observed the
11 unknown subject and noted he was close in stature and appeared to look like the driver he
12 had previously seen in surveillance footage from the pickup on January 20, 2023.
13          27.      A.L. texted Deputy Klassen an image of the trucker sign-in log. Deputy
14 Klassen observed that the driver’s name and signature box were filled out with scribbles.
15 The signature scribble bore a close resemblance to the signature from the prior two events.
16 The trucking company name was listed as “Jorge Trucking.” The cell phone number was
17 clearly written as “360-798-4436.” A.L. also texted Deputy Klassen a photo of the license
18 plate as the tractor trailer departed the facility. The trailer plate was a Florida plate,
19 “QA84KI,” however the “4” was black while the other letters was blue. The “4” appeared
20 to be a house number affixed to the plate. Deputy Klassen noted the Department of
21 Transportation (DOT) number, “3684599,” and company name, “DBH Transport LLC,”
22 on the side of the truck.
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     Complaint- 10                                                        UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
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             28.      Deputy Klassen and the unmarked units followed the tractor trailer as it
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     traveled southbound on Pioneer Highway, eastbound on State Route 532, then southbound
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     on Interstate 5. It exited on State Route 530 and initially turned into a gas station on the
16
     west side of Interstate 5, before crossing over Interstate 5 and going to the Pilot truck stop,
17
     located at 2430 State Route 532 in Arlington, WA, on the east side of Interstate 5. A
18
     passenger entered the cab, and the vehicle was refueled. Around 9:00 a.m., the truck exited
19
     the fuel stop and resumed driving southbound on Interstate 5. Deputy Klassen noted the
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     “4” on the license plate had fallen off, and the license plate now read QA81KI.
21
             29.      Deputy Klassen contacted Trooper Eberle with Washington State Patrol’s
22
     (WSP) Commercial Vehicle Enforcement Division. Trooper Eberle advised Deputy
23
     Klassen that he looked up the truck’s DOT number and it was not valid. Trooper Eberle
24
     advised that the State Patrol could open the weigh station south of the City of Everett,
25
     Washington, and perform a commercial vehicle inspection. The tractor trailer entered the
26
     weigh station and Trooper Eberle and Trooper Lemmon performed an inspection.
27
             30.      The driver was identified by Florida Driver’s License as A.C.C. and the
28
     passenger was identified by Florida Driver’s License as J. S-A.
      Complaint- 11                                                         UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
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 1            31.      WSP Troopers were advised by the occupants they were going to Portland to
 2 deliver the load to Albertson’s. Trooper Eberle texted Deputy Klassen an image of the bill
 3 of lading given to him by SANCHEZ. It should be noted the bill of lading that SANCHEZ
 4 presented looked nothing like the two previous bills of lading that Deputy Klassen
 5 reviewed from North Star Cold Storage. The date on the top of the bill of lading SANCHEZ
 6 presented was January 18, 2023 5, the trucking company was listed as Jorge Trucking, and
 7 the destination was listed as “Albertson’s/Safeway at 17505 NE San Rafael, Warehouse
 8 97230.” The shipper was listed as Arctic Seafood with the street filled in as North Star
 9 Cold Storage in Stanwood, WA. The items loaded in the trailer were described as 12 units
10 of frozen crab, weighing 1250. Handwritten diagonally across the document is “Call Chris”
11 with phone number, (208) 509-8598 written directly underneath, which is the same number
12 that Delgado (aka SUBIL) provided to both North Star Cold Storage and Arctic Seafoods.
13 The seal number “0609777” was handwritten in different handwriting near the bottom of
14 the document.
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      The date of this trip was January 25, 2023. See image of fraudulent bill of lading presented to Trooper Eberle
     below this paragraph.
      Complaint- 12                                                                          UNITED STATES ATTORNEY
                                                                                            700 STEWART STREET, SUITE 5220
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17          32.      Deputy KLASSEN requested the current bill of lading from North Star Cold

18 Storage, which had just been provided to the driver of the truck earlier in the morning.
19 When Deputy Klassen received the image of the document, he noted it matched the other
20 two bills of lading in format. The authentic bill of lading listed 12,000 pounds of product,
21 almost ten times as much listed on the bill of lading presented to WSP Troopers.
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     Complaint- 13                                                      UNITED STATES ATTORNEY
                                                                       700 STEWART STREET, SUITE 5220
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19          33.      Based on this information, I believe the bill of lading SANCHEZ presented
20 to WSP Troopers was forged and that SANCHEZ knowingly presented the forged
21 document as they had been given the legitimate bill of lading before leaving North Star
22 Cold Storage. Based on the photo of J.S.A on his Florida driver’s license, Deputy Klassen
23 informed me that SANCHEZ closely resembles the driver who also picked up the product
24 from North Star Cold Storage on January 20, 2023.
25          34.      The tractor trailer left the weigh station at approximately 10:45 a.m. and
26 continued southbound on Interstate 5. A short time later, Deputy Klassen and other law
27 enforcement officers initiated a vehicle stop of the tractor trailer near Tacoma, Washington.
28
     Complaint- 14                                                       UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
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 1          35.      Deputy Klassen approached the driver’s side and contacted SANCHEZ
 2 Deputy Klassen instructed SANCHEZ to turn the vehicle off and step out, which he did.
 3 Deputy Klassen frisked him for weapons and attempted to read SANCHEZ his Miranda
 4 Warnings verbatim from the department issued card, but SANCHEZ stated he didn’t
 5 speak English and needed a translator. Due to the traffic, it was difficult to hear so
 6 Deputy Klassen placed SANCHEZ in the back of a patrol vehicle. Deputy Klassen called
 7 the language line and, through an interpreter, read SANCHEZ’s Miranda Warnings
 8 verbatim from his department issued card. SANCHEZ stated he understood his rights and
 9 that he did not wish to speak with Deputy Klassen. SANCHEZ was placed back into the
10 rear of the patrol vehicle.
11          36.      Deputy Klassen then spoke with the passenger, A.C., in another patrol
12 vehicle. Deputy Klassen was sitting in the driver’s seat, A.C. was sitting in the passenger
13 seat, and a deputy with a bodycam was recording from the backseat. Deputy Klassen
14 called the language line for A.C., as well, and, through an interpreter read the Miranda
15 Warnings verbatim from his department issued card. A.C. stated he understood his rights
16 and he was willing to speak with investigators without a lawyer present.
17          37.      A.C. stated he and SANCHEZ both live in Florida, that he was out of
18 money, and badly needed work. A.C. said he had worked for SANCHEZ before, and that
19 SANCHEZ set up the transaction. A.C. said he used SANCHEZ’s name at the cold
20 storage facility because J.S.A was the owner of the trucking company. A.C. stated he and
21 SANCHEZ had come from Florida on Friday to do this job, but he wasn’t sure about the
22 date. A.C stated he was delivering the product to Portland and didn’t know anything
23 about the paperwork SANCHEZ had given the trooper. A.C. showed Deputy Klassen a
24 WhatsApp thread that included SANCHEZ’s name at the top. A.C. scrolled through it,
25 showing Deputy Klassen the length of their communication. Deputy Klassen didn’t see
26 any recent communication and didn’t see if they had any communications regarding their
27 arrangement for this delivery, A.C. stated there was not.
28
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 1          38.      A.C. and SANCHEZ consented to a search of the van. Deputy Klassen
 2 removed the seal from the back of the trailer, reading “0609777” as listed on the
 3 fraudulent bill of lading but was not the same as the one, “0008788,” listed on the
 4 legitimate bill of lading.
 5          39.      Deputy Klassen entered the back of the trailer and observed the pallets
 6 North Star Cold Storage loaded. Deputy Klassen was unable to move the pallets due to
 7 weight and could only inspect the closest two. They bore pallet “license plates” identical
 8 to two of the boards photographed and sent to Deputy Klassen by A.L., bearing the lot
 9 number 42435-N and boards 4 and 6. The product label showed Arctic Seafood King
10 Crab, packed by North Star.
11          40.      Deputy Klassen entered the cab of the vehicle, located, and seized multiple
12 cell phones, a tablet, and GPS device, believing all could provide valuable evidence of
13 this crime and that seizing them could preserve evidence while applying for a search
14 warrant. Deputy Klassen searched for both the real and fake bills of lading but could not
15 find either. There were numerous other bills of lading and trucking documents in manila
16 envelopes, but these documents were not associated to the documents related to this date,
17 so Deputy Klassen did not seize them.
18          41.      Deputy Klassen compared his in-person contact with SANCHEZ, on this
19 date, with the subject observed in the security footage from the theft that occurred on
20 January 20, 2023. Based on his comparison of the two individuals, Deputy Klassen
21 believes that it was SANCHEZ on both occasions based upon observed physical
22 characteristics – to include height, weight approximate age, dark-skin complexion, and a
23 distinct bulbous nose. Additionally, the individual on the surveillance footage wore a
24 hooded dark-colored jacket with a tan-colored pocket on the chest, right shoulder, and
25 stomach area. During the in-person encounter with SANCHEZ, Deputy Klassen observed
26 that SANCHEZ was wearing a dark-colored jacket with the hood pulled up and tan-colored
27 pockets in the same locations as on the jacket as previously observed on the surveillance
28 footage.
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 1          42.      Based on his investigation, Deputy Klassen developed probable cause that
 2 SANCHEZ committed the crime of forgery and knowingly possessed a fraudulent bill of
 3 lading, which he used to avoid detection while transporting a load of fraudulently
 4 obtained product.
 5          43.      Deputy Klassen advised SANCHEZ he was under arrest and placed him in
 6 handcuffs. SANCHEZ informed Deputy Klassen that he was willing to release the truck
 7 to CUELLAR. Deputy Klassen advised A.C. very clearly the product in the back of the
 8 trailer was not actually crab and was unsellable. SANCHEZ was transported and booked
 9 into the Snohomish County Jail. A few hours later SANCHEZ was bailed out of the
10 Snohomish County Jail, and it is unknown where SANCHEZ. traveled to after he was
11 released from police custody.
12          44.      On January 30, 2023, the Stanwood Police Department received a police
13 report from the Sioux City, Iowa Police Department regarding a stolen tractor trailer
14 reported on September 6, 2022. On that date, SANCHEZ reported that his tractor trailer
15 had been stolen from the side of Interstate 29. This tractor trailer is the same vehicle, as
16 identified by Florida license plate, that arrived at North Star Cold Storage on January 25,
17 2023, to pick up the third shipment. In the police report, SANCHEZ claimed he had a flat
18 tire, walked to the nearest truck stop to get help, and when he returned found that his truck
19 and trailer had been stolen. SANCHEZ informed police he had the keys and had locked the
20 vehicle, so he had no idea how the thief was able to take the truck. According to the report,
21 SANCHEZ owned a business called Chris Trucking Road Services. It should be noted at
22 the time of this theft SANCHEZ was hauling a load of Arctic Seafoods crab from
23 Chesapeake, Virginia, to Seattle, Washington. Gorelik informed me that Arctic Seafoods
24 was just moving product from one cold storage facility to another.
25          45.      The Sioux City detective that investigated this crime noted that SANCHEZ
26 stated he had a cell phone at the time of the vehicle breakdown but decided to walk a total
27 of 45 minutes to get help instead of summoning help by using his cellular phone. After an
28 initial conversation, the detective attempted to reach SANCHEZ and the number that
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 1 initially worked for SANCHEZ was no longer in service. The detective also learned that
 2 the companies involved in this also were unable to reach SANCHEZ ever again. The
 3 detective also noted that route of travel did not make sense for a westbound trip from
 4 Virginia to Washington. At the time of the theft, SANCHEZ was traveling southbound
 5 through Sioux City, Iowa.
 6          46.      The detective concluded, through many interviews of people involved, that
 7 SANCHEZ was likely involved in the disappearance of his tractor trailer. At this time,
 8 throughout various locations in the Midwest, there were a significant number of vehicle
 9 thefts mostly involving tractor trailers full of meat. Due to the lack of evidence and an
10 inability to reach SANCHEZ again, the Sioux City Police Department closed their case.
11 Based on my discussions with other law enforcement officers involved in this case, as well
12 as the evidence reviewed, it is my belief that SANCHEZ was probably involved in the theft
13 of the merchandise inside his truck and likely sold the product for a considerable profit. It
14 seems to be no coincidence that SANCHEZ and/or a coconspirator approached the same
15 company, Arctic Seafoods, using a different name (Christopher DELGADO aka SUBIL),
16 with the aforementioned scheme several months after being involved in the theft of their
17 product.
18          F.       Fourth Pickup from North Star Cold Storage
19          47.      On January 27, 2023, Detective Steven Martin with the Stanwood Police
20 Department informed me that Delgado (aka SUBIL) contacted Gorelik once again to
21 facilitate another transaction between the business attempting to impersonate Safeway and
22 Arctic Seafoods. Since the communication is still occurring after the last shipment, it is my
23 belief these shipments may be stored in a warehouse without being opened right away.
24          48.      On January 30, 2023, Delgado (aka SUBIL) once again contacted Gorelik
25 via cell phone to set up the next purchase. At the behest of law enforcement, to procure
26 warrants, Gorelik informed Delgado (aka SUBIL) there was a snag in production, and he
27 would need to push the next shipment to Thursday. Delgado (aka SUBIL) informed
28 Gorelik he would call back on Wednesday to finalize the purchase to pick up the
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 1 merchandise on Thursday, February 2, 2023. A few minutes later, Delgado (aka SUBIL)
 2 called Gorelik and asked him to send the invoice for the previous shipment on January 25,
 3 2023. Due to this ongoing investigation, law enforcement agents advised Gorelik to send
 4 the invoice to Delgado (aka SUBIL). Arctic Seafoods has not received payment for any of
 5 the previous three shipments.
 6          49.      On February 1, 2023, Delgado (aka SUBIL) sent a purchase order to Arctic
 7 Seafoods in the amount of $420,000 for a fourth shipment. As described earlier in this
 8 affidavit, the purchase order emails are sent from Delgado (aka SUBIL) at
 9 notifications@safeway2.odoo.com, but list the chrisdelgado@safewaycorporate.com
10 email account, as well as the www.safewaycorporate.com web domain at the bottom of
11 the email. A copy of the purchase order that is attached to the email is shown below:
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27          50.      The information contained in the above purchase order is not associated to
28 the legitimate Safeway company. Based on the open-source search of the associated
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 1 address, it returns to the Albertson’s corporate office headquarters, which is Safeway’s
 2 parent company. The phone number does not come back associated with any Albertson’s
 3 entity. For reference, Detective Martin received a copy of a legitimate Safeway purchase
 4 order from Scott Heggan, the Meat, Seafood, and Deli Procurement Manager from the
 5 Seattle Division of Albertsons Companies, which is shown below.
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20          51.      On February 2, 2023, at approximately 4:08 p.m. Linda Boggs from North

21 Star Cold Storage informed me they had just received a call from Delgado (aka SUBIL)
22 to schedule a pickup appointment for the following day, February 3, 2023, at 1:00pm. As
23 shown on their caller identification, Delgado (aka SUBIL) called from the same number
24 he had previously communicated with both Arctic Seafoods and North Star Cold Storage.
25          52.      On February 2, 2023, at 4:21 p.m., Jennifer Zavala (aka SUBIL)

26 (jenniferzavala@safewaycorporate.com) sent an email to Arctic Seafoods advising, “We
27 have you scheduled for payment invoice #230120-1 on February 21, 2023.” Previously,
28 on January 23, 2023, Zavala (aka SUBIL) sent an email to Arctic Seafoods stating the
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 1 first invoice (invoice #230118-2) will be paid on February 17, 2023. Based on the
 2 evidence discovered during this investigation, law enforcement officers believe all of the
 3 names, phone numbers, and email addresses are fictitious, and no payments will be made.
 4 It should be noted that no payment was received by Arctic Seafoods on February 17,
 5 2023.
 6          53.      On February 3, 2023, Delgado (aka SUBIL) called North Star Cold
 7 Storage, via his known phone number, (208) 509-8598, to cancel the scheduled pickup,
 8 stating there were truck problems.
 9          54.      On February 3, 2023, I sent a subpoena to T-Mobile for subscriber
10 information and phone tolls related to Delgado’s (aka SUBIL) number, (208) 509-8598.
11 T-Mobile was able to send the phone tolls; however, they informed me that the service is
12 with Tracfone Wireless. The T-Mobile representative informed me that Tracfone uses T-
13 Mobile towers, so they were able to provide call data, but Tracfone holds the subscriber
14 data. On February 6, 2023, I sent a subpoena to Tracfone Wireless for subscriber
15 information regarding this phone number. I have attempted to contact Tracfone on
16 numerous occasions since and they indicated that it was in process and were not able to
17 give me any information over the phone.
18          55.      On February 7, 2023, the owner of Arctic Seafoods, Alex Gorelik, was
19 contacted by Delgado (aka SUBIL) via email from chrisdelgado@safewaycorporate.com.
20 Delgado (aka SUBIL) stated, “Hello. I’m just checking in to see how the production
21 looks this week. Give me a heads up if you can.” Gorelik responded he would have a
22 better idea the following month and Delgado (aka SUBIL) responded, “Oh, ok. What
23 type of inventory do you have available at the moment?” Based on the information
24 available during this investigation, it is my belief that Delgado (aka SUBIL) is attempting
25 to get more merchandise from Arctic Seafoods, while continuing to misrepresent himself
26 as a representative of Safeway/Albertsons. I further believe he intends on not paying for
27 the merchandise.
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 1          56.      On February 7, 2023, at approximately 4:15 p.m. North Star Cold Storage
 2 informed me that Delgado (aka SUBIL), had called them and scheduled a pickup of the
 3 last order. The purchase order related to the shipment had been previously sent on
 4 February 1, 2023, and is found on page 19 of this affidavit. The pickup was scheduled to
 5 occur on February 8, 2023, at approximately 11:00 a.m.
 6          G.       Stolen Property from First and Second Pick-up Found in Florida
 7          57.      On February 1, 2023, at approximately 8:52 a.m., Gorelik contacted me by
 8 telephone and stated that at approximately 7:30 a.m., one of Gorelik’s customers, M.G.,
 9 who is based out of Florida informed him he had received an offer by both text message
10 and email from Bob INTERIAN of Jomara Seafood, based out of Hialeah, Florida, to buy
11 crab. M.G. informed Gorelik that based on the description of the seafood and the pictures
12 that were sent to him by INTERIAN, it appeared to be Arctic Seafood’s crab. M.G.
13 noted the prices that INTERIAN offered were below market value.
14          58.      Gorelik immediately suspected it was the crab stolen from Arctic Seafood
15 by Delgado (aka SUBIL) and others, who previously represented themselves as Safeway
16 corporation. M.G. forwarded Gorelik pictures INTERIAN had sent him, including
17 pictures of the box and a label. The label showed the lot number (Lot #: 42306-N) that
18 was listed on both the purchase order sent from Delgado (aka SUBIL) to Arctic Seafoods
19 and the invoice that Arctic Seafoods sent Delgado (aka SUBIL) on January 18, 2023.
20 This lot number was included in the first shipment that was taken by deception on
21 January 18, 2023, from the North Star Cold Storage Facility in Stanwood, WA. Gorelik
22 informed me the description of many of the other products being sold by INTERIAN
23 match the products that were also picked up from the Stanwood facility on January 18,
24 2023, and January 20, 2023. According to M.G., the product is being held at Neptune
25 Cold Storage, located at 7337 NW 37th Avenue in Miami, Florida.
26          59.      On February 2, 2023, I contacted the owner of INTERIAN to inform him
27 the products he was attempting to sell were stolen. INTERIAN stated he was unaware the
28 products had been stolen and provided me with one of the invoices from Global Supply P
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 1 and P Inc., the company he purchased the stolen goods from. He further stated he
 2 purchased the stolen goods from an individual named David.
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20          60.      INTERIAN stated he was given a business card by “David.” This card had
21 two phone numbers, 833-231-1955 and 786-403-3168.
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     Complaint- 23                                                    UNITED STATES ATTORNEY
                                                                     700 STEWART STREET, SUITE 5220
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 1          61.      On February 3, 2023, INTERIAN provided me with the receipt of wire
 2 transfer that Jomara Seafoods made to Global Supply P & P Inc. earlier that day. The
 3 wire transfer was made to the TD Bank account listed on the invoice above, ending in -
 4 5278, in the amount of $144,750.00. According to INTERIAN, Jomara Seafoods made
 5 two different orders of crab from Global Supply P & P Inc. and made one wire transfer
 6 totaling $144,750.00. INTERIAN stated he paid $25 per pound for 6/9 and 4/7 king crab
 7 and $23 per pound for the 9/12 king crab. INTERIAN stated he planned to sell the
 8 product for approximately $30 per pound.
 9          62.      Global Supply P & P Inc, is an active Florida Company. The company’s
10 registered agent is David SUBIL, and the registered address of the company is 6415 SW
11 42 Street Miami Florida, 33155. The Company was incorporated on September 15, 2020.
12 This company has a website, https://www.globalsupplysystemsinc.com. While the
13 number provided to contact the company on the website is 833-231-1955, INTERIAN
14 informed me that he and David communicate using the other number on the business
15 card, (786) 403-3168. INTERIAN sent me a contact card to my cell phone, which lists
16 the contact’s name as David Global Food and that number as its associated phone
17 number. INTERIAN said that he has spoken to David via that phone number on several
18 occasions, most recently on February 16, 2023.
19          63.      On February 16, 2023, a subpoena was sent to T-Mobile regarding the
20 subscriber information for the phone number, (786) 403-3168. T-Mobile responded that
21 the subscriber was David SUBIL with an associated address of 6801 SW 83rd Place in
22 Miami, FL. According to T-Mobile, SUBIL has been the subscriber of this phone number
23 since August 9, 2021.
24          64.      SUBIL is the registered agent of a second company, SURF & TURF 2
25 YOU CORP, incorporated on May 25, 2022. The registered address is 6415 SW 42 Street
26 Miami Florida, 33155. This company has a website, https://surfandturftoyou.com. The
27 number provided to contact the company on its website, 833-231-1955, is the same as
28 one of the numbers on the card given to INTERIAN by David.
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 1           65.      Based on a search of the Florida Department of Motor Vehicles, SUBIL has
 2 an issued driver license (S-140-160-71-148-0) with two addresses listed. One being the
 3 registered address of Global Supply P & P Inc at 6415 SW 42nd Street in Miami, FL and
 4 the other being the address listed on the invoice above for wire transfers to Global Supply
 5 P & P Inc. at 6801 SW 83rd Place in Miami, FL. The address found on the top of the
 6 invoice for Global Supply P & P Inc. is 6800 Bird Road, PMB 462 in Miami, Florida.
 7 An open-source check of this address reveals that it is a UPS store in Mami, Florida.
 8           66.      David SUBIL has a long criminal history, including, but not limited to,
 9 Grand Theft of the 2nd Degree, Grand Theft 3rd Degree and Fraud-Swindle. An online
10 search reveals that in two prior instances, he has purchased seafood and meat with
11 counterfeit checks.
12           67.      I obtained a recent mugshot of David SUBIL. He was arrested by the South
13 Miami Police Department in October 2022 for DUI and Damage to Property or Person.
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             68.      On Tuesday, February 7, 2023, INTERIAN emailed still photographs from
24
     the surveillance cameras at Jomara Seafood in Miami, Florida. According to INTERIAN,
25
     the photographs depict the individual that sold him the crab and who he referred to as
26
     “DAVID.” Based on the investigation, I believe the man in the photographs is David
27
     SUBIL. Based on my experience and my knowledge of this investigation, I believe that
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      Complaint- 25                                                        UNITED STATES ATTORNEY
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1 SUBIL is representing himself as DELGADO and using both phone numbers, (208) 509-
2 8598 and (786) 403-3168.
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             H.       Surveillance and GPS Tracking of Fourth Shipment
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             69.      On February 8, 2023, at approximately 9:30 a.m., a dispatcher from NW
14
     Freight contacted North Star Cold Storage to confirm the pickup of the shipment. At
15
     approximately 11:30 a.m., a semi-truck with a black cab, bearing Washington license
16
     plate 94919RP, and white trailer, bearing Washington license plate 18986AG,
17
     approached the loading docks of North Star Cold Storage. I was able to see the cab had
18
     “NW Freight” on both sides of the truck’s doors. A North Star employee approached the
19
     truck and was able to confirm this vehicle was, in fact, there to pick up the target
20
     shipment. The target shipment included a box with a court authorized GPS tracking
21
     device. On February 1, 2023, U.S. Magistrate Judge Mary Alice Theiler issued a warrant
22
     authorizing the installation of a GPS tracking device in the target shipment. No. MJ23-
23
     049-1 (W.D. Wash. February 1, 2023). After the warrant was issued, on February 1,
24
     2023, at approximately 1:50 p.m., I installed the tracking device in one of the boxes and
25
     put the box in the middle of pallet 3.
26
             70.      On February 8, 2023, at approximately 12:20 p.m., after the pallets were
27
     loaded onto the truck, it left the cold storage facility and began traveling eastbound on
28
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                                                                          700 STEWART STREET, SUITE 5220
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 1 SR-532 toward Interstate 5. While traveling toward Interstate 5, I coordinated with
 2 WSP’s Commercial Vehicle Enforcement Division to inspect the truck and its occupants.
 3 Upon entering the ramp to merge onto Interstate 5 southbound, WSP Trooper Travis
 4 Snider initiated a vehicle stop on the truck. Trooper Snider informed me the driver of the
 5 truck was Oleksandr AVRAMYSHYN and provided a photograph of his Oregon driver’s
 6 license. Trooper Snider asked the driver if there was anyone else in the vehicle and
 7 initially AVRAMYSHYN denied until eventually Trooper Snider found out that an
 8 additional individual was in the sleeper area of the cab, who did not have any
 9 identification except a document on his phone with a picture; however, all of the writing
10 was in a foreign language and the subject did not speak any English. The driver of the
11 truck presented Trooper Snider with the bill of lading, registration, logbook, and
12 information regarding their trip. AVRAMYSHYN stated that they were traveling to
13 Portland and provided an address of 901 NW Eastwind Drive. Trooper Snider took
14 photographs of the documentation and provided them to me via text message and/or
15 email. At approximately 1:15 p.m., Trooper Snider released the vehicle, and it continued
16 southbound on Interstate 5.
17          71.      Based on a review of the GPS tracking device, at approximately 5:00 p.m.,
18 the truck arrived at the Northwest Freight warehouse in Troutdale, Oregon, where it
19 remained until the next day, February 9, 2023, at approximately 12:30 p.m., at which time
20 the shipment moved approximately five miles to another warehouse, located at 17600
21 Northeast San Rafael Street in Portland, Oregon.
22          72.      On Friday, February 17, 2023, the shipment moved to the area of Catalina
23 Cold Transfer, located at 2927 NW 74th Avenue in Miami, FL.
24          73.      On Saturday, February 18, 2023, the shipment moved to the area of Florida’s
25 Best Services, located at 702 NW 6th Avenue in Fort Lauderdale, FL. Based on a Google
26 search of the business, it appears that the business provides construction services, as well
27 as junk removal. Based on this, I believe that SUBIL disposed of the shipment once he
28 realized that it did not contain the crab that he was attempting to steal by fraud.
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                                                                         700 STEWART STREET, SUITE 5220
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             74.      HSI Taskforce Officer Walter Duran took the above photo in Fort
14
     Lauderdale, Florida, on February 18, 2023, at 3:03 p.m. pacific coast time. At this time,
15
     the tracker is still pinging in the location where the above boxes were dumped.
16
             I.       Additional Communication with Co-Conspirators
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             75.      On February 15, 2023, Delgado (aka SUBIL) contacted Gorelik, using the
18
     same number he had used with Gorelik in the past, and informed him that they had
19
     opened the third shipment and determined that the product shipped was not king crab. As
20
     previously discussed with law enforcement, Gorelik blamed the cold storage facility and
21
     determined that they would look into what happened.
22
             76.      On February 15, 2023, and February 16, 2023, Delgado (aka SUBIL),
23
     using the same phone number, contacted Gorelik and discussed the third shipment and
24
     how they would handle the situation. Gorelik informed Delgado (aka SUBIL) it would be
25
     a process and the product should not be sent back to the cold storage facility at this time,
26
     until a full investigation can take place. These two calls were recorded.
27
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      Complaint- 28                                                        UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
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 1          77.      On February 16, 2023, INTERIAN informed me David had contacted him
 2 from (786) 403-3168, the number belonging to SUBIL, and wanted to sell him additional
 3 crab. INTERIAN told David he was no longer interested in the product. It is believed that
 4 David is still trying to sell the stolen merchandise acquired via the first two shipments of
 5 king crab from Arctic Seafoods.
 6          78.      On February 17, 2003, Delgado (aka SUBIL), once again, contacted
 7 Gorelik and informed him that he had opened the fourth shipment and realized that the
 8 product in the boxes was not crab. Again, at the behest of law enforcement, Gorelik
 9 explained that he did not know what happened and that they would attempt to determine
10 what happened with the shipment. This phone call was recorded.
11          J.       Flight Booked to Colombia
12          79.      On Saturday, February 18, 2023, I was notified that SUBIL had booked a
13 one-way ticket from Miami International Airport (MIA) to Medellin, Colombia. The flight
14 booking notification was based on an exact match of name and date of birth. The American
15 Airlines flight (Flight # 1127) is scheduled to depart MIA at approximately 10:32 a.m.
16 eastern on Sunday, February 19, 2023. According to Customs and Border Protection
17 (CBP), the flight was booked on the morning of February 18, 2023, at approximately 8:48
18 a.m. Based on Passenger Name Record (PNR) data, which is collected at the time of
19 booking, SUBIL would be traveling alone. According to CBP records, SUBIL has no
20 international travel in the last five years. SUBIL has no known connection to Columbia.
21 Based on my experience and the recent activity in this case, I believe this last-minute travel
22 was booked in order to flee the country from potential prosecution.
23          80.      This warrant is being submitted via reliable electronic means. Fed. R. Crim.
24 P. 4.1 & 41(d)(3).
25           Based on the above facts, I respectfully submit there is probable cause to believe
26 that David SUBIL did knowingly and intentionally (1) unlawfully transport or cause to
27 be transported in interstate or foreign commerce; (2) goods, wares, merchandise,
28 securities, or money having a value of $5,000 or more which are stolen, converted, or
     Complaint- 29                                                        UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     United States v. David Subil
                                                                           SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
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1 taken by fraud; and (3) knowing the same to be stolen, converted or taken by fraud, in
2 violation of Title 18, United States Code, Section 2314.
3
4                                                       DAVID J         Digitally signed by
                                                                        DAVID J SPITZER
5                                                       SPITZER         Date: 2023.02.18
                                                                        17:25:02 -08'00'
                                                      _______________________________
6
                                                      DAVID J. SPITZER, Complainant
7                                                     Special Agent, HSI
8
9
             Based on the Complaint and Affidavit sworn to before me by telephone, the Court
10
     hereby finds that there is probable cause to believe the Defendant committed the offense
11
     set forth in the Complaint.
12
13
             Dated this 18th day of February, 2023.
14
15
16
17                                                    David W. Christel
                                                      United States Magistrate Judge
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      Complaint- 30                                                         UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
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